      Case 08-14631-GMB            Doc 499-1 Filed 07/07/08 Entered 07/08/08 11:49:09                      Desc
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Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                     Case No.: 08−14631−GMB
                                     Chapter: 11
                                     Judge: Gloria M. Burns

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Shapes/Arch Holdings L.L.C.
   9000 River Road
   Delair, NJ 08110
Social Security No.:

Employer's Tax I.D. No.:
  22−3413451




                                      NOTICE OF JUDGMENT OR ORDER
                                        Pursuant to Fed. R. Bankr. P. 9022

        Please be advised that on July 8, 2008, the court entered the following judgment or order on the court's docket
in the above−captioned case:

Document Number: 499 − 358
Order Resolving Motion For Relief From Stay by Liston Smith, Jr. re: EEOC Complaint (Related Doc # [358]). The
following parties were served: Debtor, Debtor's Attorney, US Trustee and Movant. Signed on 7/7/2008. (def)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: July 8, 2008
JJW: def

                                                                James J. Waldron
                                                                Clerk
